Case 2:05-cr-20165-.]DB Document 11 Filed 08/29/05 Page 1 of 3 Page|D 13

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ron THE WESTERN DISTRICT or TENNESSEE 1. `""
WESTERN DIVISION 05 AUG 29 PH 2= |5

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UNITED STATES OF AMERICA

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)

Plainliff, )

)
VS ) CR. NO. 04-20448-03-]3
) 05-20165-01-B

KENNETH CRENSHAW )

)

Defendant. )

 

ORDER TO SURRENDER

 

The defendant, Kenneth Crenshaw, having been sentenced in the above case to the custody of
the Bureau of Piisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
(P.O. Box 7000) 1400 Dale Bumpers Road, Forrest City, AR 72335

by 2:00 p.m. on FRIDAY, SEPTEMBER 30, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerl<, Federal Office Building, 167 N. Main Street, Rooln 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Orcler and that the

defendant will report as ordered to the facility named above

  

ENTERED this the gi day OfAuguSi, 2005.

 

J. DANIEL BREEN \w
JITEI) sTATEs DIsTRICT .IUDGE

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Case 2:05-cr-20165-.]DB Document 11 Filed 08/29/05 Page 2 of 3 Page|D 14

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED sTATE D"ile COURT - WESRNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number ll in
case 2:05-CR-20165 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

